Dear Mr. Casey:
You recently requested an opinion from our office concerning an ordinance amending the charter of the City of New Roads.  You enclosed a certified copy of Ordinance No. 2, 1991 and an affidavit from the publisher of the Pointe Coupee Banner verifying that the ordinance was published three times.  You asked for an opinion from this office regarding the municipality's compliance with R.S. 33:1181 and whether the amendment is consistent with the constitution and laws of the United States and the State of Louisiana.
R.S. 33:1181 provides, in pertinent part, as follows:
      "When a municipality existing prior to July 29, 1898, and having a population of two hundred thousand or less, which has not come under the provisions of Part I Chapter  2 of this Title, desires to amend its charter, the same may be done in this way: The municipal governing body may prepare, in writing, the desired amendments, have the same published in the municipality, if there be one, and, if none, then by posting for said time in at least three public places therein; the proposed amendments shall then be submitted to the governor, who shall submit them to the Attorney General for his opinion . . ."
A review of the ordinance and attached documents indicates that the City of New Roads complied with R.S. 33:1181 in its effort to amend the charter.  The proposed amendment was published for three consecutive weeks in the local municipality's newspaper.  Subsequently, the proposed amendment was submitted to your office in compliance with R.S. 33:1181.
In researching the applicable areas of the law, I could find no provision, federal or state, posing a problem or conflict with the proposed amendment.  Thus, it is the opinion of this office that the proposed amendment to the municipal charter of the City of New Roads is consistent with the laws of the United States and the State of Louisiana.
Sincerely,
                              WILLIAM J. GUSTE, JR. Attorney General
                              BY: GLENN R. DUCOTE Assistant Attorney General
GRD/vls-0491l
cc:  Mr. John Wayne Jewell